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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                   Case No. 19-21902-CIV-MORENO

  DANIEL CAMARGO,

           Plaintiff,

  vs.

  ROMINA AT THE BEACH, LLC, and
  FRITZ BOERS,

        Defendants.
  ___________________________________/

                              PLAINTIFF’S STATEMENT OF CLAIM

           Plaintiff, DANIEL CAMARGO (“Plaintiff”), by and through undersigned counsel, hereby

  states this claim as follows:

        1. Plaintiff has endeavored at this stage of litigation to formulate this Statement of Claim on

  the basis of the best data available. In addition, this response is based upon the undersigned

  counsel’s understanding of the facts and the information reviewed thus far.

        2. Discovery is ongoing, thus this Statement of Claim, while believed to be accurate, does not

  constitute an affidavit or a binding statement and is subject to the Federal Rules of Evidence and

  Procedure. Because additional facts likely would be uncovered through further discovery, Plaintiff

  in no way waives any right to present new or additional information at a later date, for substance

  or clarification. Moreover, by submitting this Statement of Claim, Plaintiff does not waive, and

  hereby preserves, any and all substantive and procedural rights that may exist.

        3. Initial Estimate of the Total Amount of Alleged Unpaid Wages: At this time, Plaintiff

  estimates that he is owed a total of $3,872.40 in unpaid overtime wages, plus an equal amount as

  liquidated damages, and reasonable attorney fees and costs.
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     4. Plaintiff’s Calculation of Unpaid Wages: Plaintiff has worked for Defendants as non-

  exempt chef/line cook at their restaurant facility, The Fritz Café, from on or about November 2018

  through on or about January 31, 2019 (approximately 10 weeks).

             a. From on or about November 2018 to on or about the end of December 2018

                 (approximately 6 weeks), Plaintiff was paid an inclusive salary of $42,000.00

                 annually. During this time period, Plaintiff worked approximately 35 hours of

                 overtime per week, which was not compensated at the proper overtime wage rate

                 of one-and-one-half times the regular rate of pay. Plaintiff’s regular rate was

                 $10.76 per hour ($42,000.00 / 52 weeks / 75 hours worked per week). At the half-

                 time calculation, Plaintiff’s overtime rate would be $5.38 per hour ($10.76 per hour

                 x 0.5). Therefore, for this period, Plaintiff is owed $1,129.80 in unliquidated

                 overtime damages ($5.38 overtime rate x 35 overtime hours worked per week x 6

                 weeks).

             b. From on or about January 2019 to on or about January 31, 2019 (approximately 4

                 weeks), Plaintiff was paid an inclusive salary of $45,000.00 annually. During this

                 time period, Plaintiff worked approximately 35 hours of overtime per week, which

                 was not compensated at the proper overtime wage rate of one-and-one-half times

                 the regular rate of pay. Plaintiff’s regular rate was $11.53 per hour ($45,000.00 /

                 52 weeks / 75 hours worked per week). At the half-time calculation, Plaintiff’s

                 overtime rate would be $5.76 per hour ($11.53 per hour x 0.5). Therefore, for this

                 period, Plaintiff is owed $806.40 in unliquidated overtime damages ($5.76

                 overtime rate x 35 overtime hours worked per week x 4 weeks).
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                  c. In sum, Plaintiff is owed a total of $1,936.20 in unliquidated damages for unpaid

                     overtime throughout his employment with Defendant. Plaintiff is also owed an

                     equal amount of $1,936.20 as liquidated damages. In total, Plaintiff is owed

                     $3,872.40 for his unpaid overtime claims.

         5. Nature of Wages: Plaintiff is claiming unpaid overtime wages, plus an equal amount as

      liquidated damages, reasonable attorney’s fees and costs, and any other relief this Court deems

      just and proper. In addition, Plaintiff has claims for FLSA Retaliation, in which he seeks back

      pay, front pay, compensatory damages, reasonable attorney’s fees and costs, and any other relief

      this Court deems just and proper.

         6. Attorney Fees: Plaintiff is claiming attorney fees at a rate of $400 per hour. As of the

      present date, Plaintiff’s counsel has spent approximately 15 hours in the case.

   TIME           OVERTIME            APPROX. UNPAID               NUMBER OF            TOTAL OVERTIME
  PERIOD          WAGE RATE          OVERTIME HOURS                  WEEKS                WAGES OWED
                                     WORKED PER WEEK                                       (unliquidated)
   Nov. 2018          $5.38              35 HOURS                     6 WEEKS                $1,129.80
       to
   Dec. 2018
(appx. 6 weeks)
   Jan. 2019          $5.76                 35 HOURS                  4 WEEKS                $806.40
       to
 Jan. 31, 2019
(appx. 4 weeks)

                                                    Total Unpaid Overtime Wages             $1,936.20
                                             Equal Amount as Liquidated Damages             $1.936.20
                                                                        TOTAL:              $3,872.40
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         Dated: June 14, 2019                          Respectfully submitted,


                                                       /s/ Max L. Horowitz
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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on June 14, 2019, I electronically filed the foregoing document
  with the Clerk of the Court. I also certify that the foregoing document is being served this day on
  all counsel of record or pro se parties, either via electronic transmission of Notices generated by
  the Florida Courts E-Filing Portal or in some other authorized manner for those counsel or parties
  who are not authorized to receive such Notices.

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